Case 2:09-cv-05804-PA-FFM Document 66-1 Filed 04/26/10 Page 1 of 22 Page ID #:1538
Case 2:09-cv-05804-PA-FFM Document 66-1 Filed 04/26/10 Page 2 of 22 Page ID #:1539
Case 2:09-cv-05804-PA-FFM Document 66-1 Filed 04/26/10 Page 3 of 22 Page ID #:1540
Case 2:09-cv-05804-PA-FFM Document 66-1 Filed 04/26/10 Page 4 of 22 Page ID #:1541
Case 2:09-cv-05804-PA-FFM Document 66-1 Filed 04/26/10 Page 5 of 22 Page ID #:1542
Case 2:09-cv-05804-PA-FFM Document 66-1 Filed 04/26/10 Page 6 of 22 Page ID #:1543
Case 2:09-cv-05804-PA-FFM Document 66-1 Filed 04/26/10 Page 7 of 22 Page ID #:1544
Case 2:09-cv-05804-PA-FFM Document 66-1 Filed 04/26/10 Page 8 of 22 Page ID #:1545
Case 2:09-cv-05804-PA-FFM Document 66-1 Filed 04/26/10 Page 9 of 22 Page ID #:1546
Case 2:09-cv-05804-PA-FFM Document 66-1 Filed 04/26/10 Page 10 of 22 Page ID
                                 #:1547
Case 2:09-cv-05804-PA-FFM Document 66-1 Filed 04/26/10 Page 11 of 22 Page ID
                                 #:1548
Case 2:09-cv-05804-PA-FFM Document 66-1 Filed 04/26/10 Page 12 of 22 Page ID
                                 #:1549
Case 2:09-cv-05804-PA-FFM Document 66-1 Filed 04/26/10 Page 13 of 22 Page ID
                                 #:1550
Case 2:09-cv-05804-PA-FFM Document 66-1 Filed 04/26/10 Page 14 of 22 Page ID
                                 #:1551
Case 2:09-cv-05804-PA-FFM Document 66-1 Filed 04/26/10 Page 15 of 22 Page ID
                                 #:1552
Case 2:09-cv-05804-PA-FFM Document 66-1 Filed 04/26/10 Page 16 of 22 Page ID
                                 #:1553
Case 2:09-cv-05804-PA-FFM Document 66-1 Filed 04/26/10 Page 17 of 22 Page ID
                                 #:1554
Case 2:09-cv-05804-PA-FFM Document 66-1 Filed 04/26/10 Page 18 of 22 Page ID
                                 #:1555
Case 2:09-cv-05804-PA-FFM Document 66-1 Filed 04/26/10 Page 19 of 22 Page ID
                                 #:1556
Case 2:09-cv-05804-PA-FFM Document 66-1 Filed 04/26/10 Page 20 of 22 Page ID
                                 #:1557
Case 2:09-cv-05804-PA-FFM Document 66-1 Filed 04/26/10 Page 21 of 22 Page ID
                                 #:1558
Case 2:09-cv-05804-PA-FFM Document 66-1 Filed 04/26/10 Page 22 of 22 Page ID
                                 #:1559
